SECGND & SENECA BoiLDlNG
1191 SECoN'r) AVENUF.,SUITE 1901
SEATTLE. WASI-HNGTON 93101
Phone: {206) 224-9818 Fax: (2(}6) 623-6923

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John G. Young, SBN #8308084
i\/larl<os Scheer, SBN #0511116
YOUNG DENOR|VIAND|E, P.C.
1191 Second Avenue, Suite 1901
Seatt|e, Washington 98101
Phone: (206) 224-9818

Fa)<: (206) 623-6923
iyoung@ydnlaw.com

mscheer@ydnlaw.com
Attorneys for P|aintitic Tug B|arney LLC

UN|TED STATES DlSTRlCT COURT
DlSTR|CT OF ALASKA

TUG BLARNEY LLC, a Washington limited |N AD|VI|RALTY
liability company,

‘Plaintiff,

CERTA|N CARGO OWNED BY R|DGE
CONTRACT|NG, |NC., an A|asl<a corporation, NO.

 

 

Defendant.
_ER|F|MJMPLA|NT IN R§M FOR SALVAGE OF CERTA|N Cl¢\RGO
Plaintiff, Tug Blarney LLC, a Washington limited liability company, (”P|aintiff”), by
and through its undersigned counsel, hereby asserts the following Verified Complaint fn

Rem against the Defendant Cargo located Within or near Alal<anuk, Alasl<a.

Tug Blarney LLC vs. Certain Cargo Owned by Ridge Contracting, |nc.
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SEATTLE. WASH|NGTON 93101
Phonc:; (2|`|6) 224-9813 Fax: (206} 623-6923

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l. PART|ES, VENUE AND JUR|SD|CT|ON

1. This is a case of admiralty and maritime jurisdiction stating a maritime claim
within the meaning of Ru|e 9(h) of the Federal Ru|es of Civil Procedure and Supp|emental
Admiralty Ru|es C and D as hereinafter more fully appears.

2. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §§
1331 and 1333.

3. Plaintiff Tug Blarney LLC is a Washington limited liability company
(”Plaintiff"). Plaintiff is the sole owner ofthe tug BLARNEV, ON 565613 (the ”BL!-\RNEY”).:L

4. Ridge Contracting, |nc. is an A|askan corporation and was the owner of the
majority of the cargo that was on board the Barge (”Cargo”). On information and belief,
the actual value of the Cargo when delivered to the owner, post salvage, is S4,400,250.50.

5. Venue is proper in the United States District Court, District of Alas|<a
pursuant to 28 U.S.C. § 1391.

ll. SUMMARY OF FACTS

6. On June 26, 2011, the Tug AR|ES, manned with a crew of four had the KRS-
240-5 barge (the ”Barge") in tow, laden with Defendant Cargo, was transiting the Bering
Sea from Dutch Harbor to Nome, Alasl<a.

7. At approximately 0600 hours on June 26, 2011, while the tug and Barge

were about 95 miles, East/North East from the Pribilof lslands, the AR|ES developed a

 

1 See the Certificate of Documentation attached hereto as Exhibit A.

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SEcoND & SENECA BU[LD!NG
1191 SF.COND AVENUE,SUITE 1901
SEA'l‘rLE. WASHINGTON 98101
Phonc: (206) 224»9818 Fax: (206) 623-6923

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severe list to starboard Despite the best efforts of the crew to offset the list by

transferring ballast and fuel, the list got worse.

8. Eventually, the Captain gave the order to abandon ship. The crew
transferred from the tug to the Barge and Watched as the AR|ES rolled on her side and
sank, stern first. The AR|ES sank to the ocean bottom, at an approximate depth of 45
fathoms, and acted as an anchor for the Barge, laden with the Defendant Cargo.

9. At the time the AREES sank, the winds were in excess of 20 kts. The seas
were 10 to 20 feet. .

10. Despite these difficult conditions in one of the most remote areas of the
world, the USCG deployed an lV|H-60 Jayhawk helicopter from Air Station Kodiak, which
rescued the four crewmembers and transported them to St. Paul island in good condition.
There were no reports of personal injury to the crew.

11. After the rescue of the crew, there was still the issue of the Barge and the
millions of dollars worth of Defendant Cargo that was effectively anchored and at the
mercy of the Bering Sea. Without some immediate action, it was likely that the Barge and
Defendant Cargo Would be lost. Little did they know, when the crew had abandoned ship,
the AR|ES had collided with the Barge piercing the hull of the Barge in several places,
including a large hole under the water line. Though they did not know the Barge was
taking on water, it was apparent that the Barge had to be secured soon to avoid a total
loss and significant environmental damage After some analysis, it became evident that

the only tug that was available to immediately deploy to the site to salvage the Barge and

Cargo was the BLARNEY.

Tug Blarney LLC vs. Certain Cargo Owned by Ridge Contracting, |nc.

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SEATTLE_ W.\SHiNGToN 98101
Phone: (206) 224-9818 Fax: (206) 623-6923

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SEcoND & SENF,cA BulLDlNG
1191 SEcoND AvENuE`SuITE 1901

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12. On June 26, 2011, after leaving the barge KRS 200-10 in Naknek, the
BLARNEY departed for the site where the AR|ES sank.

13. After nearly two days travel, on June 28 the BLARNEY arrived on scene.
Unfortunately, the weather was too heavy to safely approach the Barge to ascertain its
condition or attempt to disconnect it from the AR|ES.

14. Because the AR|ES and the Barge were still connected, the crew on the
BLARNEY had the ingenious idea to manufacture a retrieval hook by Welding large shackles
and other steel on the back deck ofthe BLARNEY.

15. The BLARNEY then had to drag the hook back and forth in the area between
the barge and the sunken AR|ES to catch the towline. |n spite of the 10 foot seas and
wind, the BLARNEY was able to drag up the towline.

16. Once they drug up the tow line, they had to wind it over the pitching deck
to come right up against the Barge so they could secure the tow bridle. One false move in
the pitching seas could have cause the Barge to land on top of the tug, potentially rolling it
over or injuring or kiiling the crew.

17. |n the face of these real dangers, the crew still hauled the line on board so
that they could cut the 1'1/2” steel cable with a cutting torch (which took 10-15 minutes
on the back deck of a pitching boat) and free the Barge from the sunken AR|ES. After the
tow wire was cut, the BLARNEY captain had to have the BLARNEY go all stop while the line
sank away, so that it didn't get caught in the tug’s wheel (which likely would have had a

tragic result, either sinking the tug or the Barge, or both)_

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SECOND & SENECA BU{LDING
l19l SECOND AVENUE, SU'ITE 1901
SEATTLE,WASHINGTON 98101
Phonc: {206) 224-9818 Fax: (206) 623»6923

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18. lt was during this operation that.they realized that the Barge was holed and
taking on water. After spending the better part of 24 hours trying to secure the Barge, the

BLARNEY finally had the leaking Barge in tow.

19. After consultation with the Coast Guard, it was clear that the weather was

_ too heavy to attempt to tow the leaking Barge to Dutch Harbor. |nstead, it was agreed

that the Barge should be towed to Nome to effect temporary repairs.

20. On June 29, the BLARNEY departed for Nome with the Barge. The transit
took nearly three days, arriving at 1500 on Ju|y 2, 2011.

21. The surveyor and the Global Diving crewmet the BLARNEY and the Barge
in Nome. While surveying the Barge, they discovered that the damage was far more
extensive than expected. The crew immediately undertook the pumping and sealing of
the Barge - which was still laden with all of the Defendant Cargo.

22. Before the temporary repairs could be completed, the weather came up
forcing the BLARNEY and the Barge out of the harbor where it jogged until the weather
came down enough to get back into Nome harbor on Ju|y 7, 2011.

23. Global Diving was able to begin the temporary repairs on the Barge on July
8, 2011. Again, before repairs were completed, the weather again came up, forcing the
BLARNEY to jog with the Barge for several more days. Finally, on July 14, 2011, the Barge
Was back in to Nome l-larbor.

24. The next day, Ju|y 15, the ABS inspector was able to board the Barge and
the welders were able to begin their efforts to seal the Barge’s hull. The welders

completed the welding on the Barge on July 16.

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SEcoN'o & SENECA BUILD\NG
1191 SEcoNDAvENuE. Surn~; 1901
Sl:¢\'l'rLE` WASI-erGToN 98101
Phonc: (206) 224»9818 Fax: (206) 623-6923

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25. By now, Plaintiff was faced with two issues. First, the salvage operation had
depleted the BLARNEY'S fuel and second|y, the Barge had to be unloaded before it could
be permanently repaired. Unfortunate|y, there was no way the BLARNEY could get the
Barge to the dock in Nome to take fuel or unload it.

26. The alternative was to take it to the mouth of Yukon, so that the Barge
could be passed off to a shallower draft tug, the |SLAND SP|R|T, which would tow the
Barge up river and get the cargo unloaded where it was safe. While it was going to be
unloaded, on July 18 and 19th, the BLARNEY was able to run back to Nome, take fuel and
return to the Yukon where it again took the Barge in tow.

27. On July 20, the BLARNEY was underway to Dutch Harbor with the Barge in
tow. On instructions from the Coast Guard and environmental interests, the tandem first
headed to AR|ES site to observe whether there was any oil slick from the sunken AR|ES.
Unfortunately, after arriving on site, it became apparent that the weather and seas were
too rough, making the review difficu|t. After circling the site, the tandem headed for
Dutch Harbor, arriving in the afternoon of July 23. After securing the Barge to a buoy, the
BLARNEY was finally able to head back to Naknek to resume its normal business. lt picked
up the 200 barge on August 4, 2011.

|||. CLA||V| FOR SALVAGE

28. Plaintiff incorporates by reference, as though fully set forth herein, the
allegations, set forth above in paragraphs 1 through 27.

291 This count arises under Supplemental Admiralty Rule C and the general

maritime law as salvage services constitute a preferred maritime lien.`

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SECOND & SENECA BU[LDENG
1191 SFCOND A\J'ENUE.` SU|TE 1901

SEATTLF.` WASHINGTON 98101
Phonc: (206) 224»9818 Fax: (206) 623-6923

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30. The Defendant Cargo was subject to maritime peril and was in ah utterly
helpless condition from which she could not be rescued without the voluntary and
successful services of Plaintiff.

31. Plaintiff is under no legal obligation or official duty to render salvage
services to the Defendant Cargo.

32. Plaintiff's voluntary services have been successful in rescuing Defendant
Cargo and delivering the Defendant Cargo to its owners.

33. Plaintiff, by virtue of services performed, the private risk capital expended,
the time spent and danger incurred in finding and recovering the Defendant Cargo, and all
other relevant factors, is entitled to a liberal salvage award for such services.

lV. PRAYER FOR REL|EF

Plaintiff hereby requests the following relief:

A. For a determination that Plaintiff Tug Blarney LLC be awarded a liberal
salvage award not less than $1,452,082.00, with the amount and/or composition of such
award as may be determined by this Court pursuant to the lawl of salvage;

B. That process in rem and/or quasi in rem and a Warrant of Arrest may issue
in clue form of law, in accordance with the practice of this Honorable Court in causes of
admiralty and maritime jurisdiction against the aforesaid Defendant Cargo, with notice to
be posted on the Defendant Cargo to all persons claiming an interest in the Defendant
Cargo, to appear and answer this Complaint and to show cause as to why the Defendant

Cargo should not be sold to satisfy Plaintiff’s maritime lien claim for salvage outlined

herein.

Tug Blarney LLC vs. Certain Cargo Owned by Ridge Contracting, |nc.

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C. That Plaintiff is entitled to award of its costs and attorney fees incurred;
D. Such other relief as this Court may deem equitable and appropriate_; and
E. For leave to amend the pleadings and claims to conform to the evidence

identified at trial.

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SECOND & SENECA BUILDlNG

1191 SECOND AvENUE.SuITE 1901
SEATTLE. Ws\sHlNGToN 98101
?hone: (205) 224-98]8 Fax: (206) 623-6923

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DATED this 4th day of i\/iay, 2012 at Seattle, Washington.

s[ John G. Young
State Bar No. 8308084

s[ lvlarkos Scheer

State Bar No. 0511116

YOUNG deNORl\/lAND|E, P.C.
1191 Second Avenue, Suite 1901
Seattle, WA 98101

Telephone: (206) 224-9818
Facsimile: (206) 623-6923
E-mail: jyoung@ydnlaw.com

E-mail: mscheer@ydnlaw.com
Attorneys for Tug Blarney LLC

Tug Blarney LLC vs. Certain Cargo Owned by Ridge Contracting, |nc.

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SEcoND & SENECA BulLorNG
1191 SEcoND AvENUE,SulTE 1901
SEATn.E. WAsI-rlNo'roN 98101
Phone: (206) 224-9818 Fax: (206) 623-6923

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vERlFchTloN
Under penalty of perjury pursuant to the laws of the United States, l, Kevin
Kennedy, declare that l am the manager of Plaintiff Tug Blarney LLC, a Washington limited
liability corporation, and that, to the best of my personal knowledge after reasonable

inquiry, the factual assertions set forth above are true and correct.

DATED this §§ la day of l\/iay, 2012 at Seattle, Washington.

 

Tug Blarney LLC vs. Certain Cargo Ownecl by Ridge Contracting, |nc.

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